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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                            |
                                            |
UNITED STATES OF AMERICA                    |
                                            |              Case Nos.:    21-cr-004 (CKK)
              v.                            |                            21-cr-614 (CKK)
                                            |
LONNIE LEROY COFFMAN,                       |
              Defendant.                    |
                                            |
                                            |


           DEFENDANT’S MEMORANDUM IN AID OF SENETENCING

       COMES NOW DEFENDANT, Lonnie Leroy Coffman, by and through

undersigned counsel and respectfully submits this Memorandum in Aid of

Sentencing.


                               Concise Sentencing Argument

       Mr. Coffman is a 72-year-old U.S. Army veteran. Except for time spent serving

his country in Vietnam, he has lived his whole life in Alabama. He is the father of

two grown children and has spent over 50-years together with his wife.1

       Days prior to January 6, 2021, Mr. Coffman drove to Washington, D.C. from

his home in Alabama. He traveled in search of information related to the 2020

general election, and to attend a rally on January 6, 2021. After attending the rally,

he became disenchanted with what he saw and decided to drive back home to



1 While Mr. Coffman divorced his wife in 2019, he maintains a good relationship with her. PSR,
p.15¶78. Throughout Mr. Coffman’s time incarcerated, his ex-wife has been a point of contact for
undersigned counsel on behalf of Mr. Coffman.
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Alabama. Upon returning to his vehicle, parked near the U.S. Capitol, he discovered

that the vehicle was within a security perimeter and that it was being searched. Mr.

Coffman freely admitted to law enforcement that he owned the vehicle and its

contents. It was the contents of the vehicle that resulted in criminal charges, and

that led to Mr. Coffman’s acceptance of responsibility and guilty plea.

       Mr. Coffman stands before this Court for possession of illegal items pursuant

to U.S. Code and D.C. Code violations. As for his travel and activities in Washington,

D.C. in early 2021, all parties agree that he did not communicate with other

individuals or groups, nor did he coordinate his activity with anyone. Mr. Coffman

accepted responsibility for the illegal items in his possession in Washington, D.C.

and, also at his home in Alabama. He never shirked his responsibility for the items

in his possession. Additionally, Mr. Coffman has done nothing to impede or obstruct

justice during the course of the investigation, prosecution or sentencing in his case.

PSR, p.11¶46.    Mr. Coffman’s remorse and acceptance of responsibility warrant

sentence mitigation.

      Given the extraordinary and compelling circumstances of Mr. Coffman’s

personal history, his service to this nation, and his health and age, we respectfully

submit further incarceration is not warranted. To achieve a fair and just sentence, a

sentence with supervision, and a combination of physical and mental health

evaluation and treatment is requested.




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                                    Background

      Mr. Coffman was born in the family home in Morgan County, Alabama, on

January 17, 1950. Because he was born at home, he had no birth certificate produced.

His mother and father were sharecroppers who were married for 70-years and raised

a family of nine children including Mr. Coffman.

      In 1968, at the age of 17, he enlisted in the United States Army. Mr. Coffman

lied about his age to enlist and serve his country. Presentence Report, p.19¶91. As

a member of our armed forces, Mr. Coffman served multiple tours of duty, with time

in Vietnam, until he was honorably discharged in 1976. Id.

      After serving his country, Mr. Coffman returned home to Alabama, married

his wife of 50-years and together they raised two children. Mr. Coffman provided for

his family by working for the “Nicholson File Company” in Cullman, Alabama. Mr.

Coffman spent 29-years working at Nicholson until 2012. PSR, p.18¶92.

      After the 2020 election, Mr. Coffman traveled to Washington, D.C. He traveled

with his personal belongings and firearms for, as he stated to law enforcement, his

protection. He traveled to Washington, D.C. because of alleged election fraud that

concerned him. Once in D.C., he wanted to investigate the allegations of fraud he

had heard from media outlets. He also wanted to attend a rally scheduled for January

6, 2021.

      Once he realized that he could not meet with anyone regarding his concerns,

and that the rally was not what he expected, he decided it was time to go home to

Alabama. Upon returning to his vehicle on the evening of January 6, 2021, he was

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arrested and initially charged by a criminal complaint that alleged Possession of

Unregistered Firearm (destructive device)(26 U.S.C. § 5861(d)) and Carrying A Pistol

Without A License (D.C. Code § 22-4504(a)).

      To the date of the scheduled sentencing, Mr. Coffman will have been detained

just days shy of 15-months. If the Court were to consider factoring good time credit

as calculated by the Bureau of Prisons, on the date of sentencing Mr. Coffman will

have served the equivalent of a 20-month prison sentence.


                                 Presentence Report

      Mr. Coffman objects to the application of U.S.S.G. § 3D1.2(d) to group closely

related counts. Application of this provision was not contemplated by the parties

when negotiating the plea agreement.

      Mr. Coffman also notes that in conversations with the government and U.S.

Probation, all parties agree that Mr. Coffman, on January 6, 2021, in no way

“breached” the U.S. Capitol or its security perimeter.


                         Mr. Coffman’s Letter to The Court

      Mr. Coffman presents his letter to the Court as an attached exhibit to this

Memorandum. The letter shows Mr. Coffman’s heartfelt remorse for his conduct. As

he notes in the letter, he accepts full responsibility for his actions. Exhibit, Mr.

Coffman Letter to Court, p.1.

      The letter also describes why he came to Washington, D.C. in early January of

2021. As Mr. Coffman writes, he wanted to know: “Did my vote go to the people I

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intended it to?” Exhibit, Mr. Coffman Letter to Court, p.1. This is consistent with

how Mr. Coffman described his actions and intent in the days prior to January 6th,

and on January 6, 2021. The letter also confirms that he did not communicate or

coordinate his actions with anyone else.

      Mr. Coffman also writes in his letter about the “trials” he has gone through,

and the “test of spirit” he has experienced since January 6, 2021. He also references

the “mental anguish” he has endured while incarcerated. Exhibit, Mr. Coffman

Letter to Court, p.1. The letter also provides the Court a view into how Mr. Coffman

survived, thought, and accepted his actions and their consequences.         The letter

provides the Court with confidence that Mr. Coffman is not a danger to the public;

has fully accepted responsibility his actions, and he warrants mitigation of sentence.


                       § 3553(a) Statutory Sentencing Factors

      The advisory sentencing guidelines are merely one factor to consider when

imposing sentence, and the Court “may not presume that the Guidelines range is

reasonable.” Gall v. United States, 552 U.S. 38, 49-50 (2007); see also, United States

v. Booker, 543 U.S. 220 (2005). The Court must also consider all factors identified in

18 U.S.C. § 3553(a).

      The Parsimony Clause of 18 U.S.C. § 3553(a) provides that “[t]he court shall in

every case impose a sentence sufficient, but not greater than necessary” to achieve the

purposes and goals of sentencing (emphasis supplied). As the Court reaffirmed in

Pepper v. United States, 562 U.S. 476, 491 (2011), in light of the long-accepted


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principle that “the punishment should fit the offender and not merely the crime,” the

“sentencing judge [is] to consider every convicted person as an individual and every

case as a unique study in the human failings that sometimes mitigate, sometimes

magnify, the crime and the punishment to ensue.” 562 U.S. at 491 (quoting Koon v.

United States, 518 U.S. 81, 113 (1996)).

       Such authority and guidance cannot be emphasized enough in Mr. Coffman’s

case. As a threshold consideration for the Court, Mr. Coffman respectfully asks that

further incarceration not be included as part of a judgment and commitment order.

With this consideration in mind, Mr. Coffman submits the following authority and

argument for the Court.

Nature and Circumstances of the Offense

       Mr. Coffman accepts full responsibility for the material and items he possessed

in the District of Columbia on January 6, 2021. § 3553(a)(1). While he was in

possession of the illegal items, it is appropriate to note that at no time did Mr.

Coffman brandish, share, or communicate to others what he had on his person or in

his vehicle. There is no evidence he was associated with or a coordinator among

individuals or factions assaulting the Capitol on January 6th. There is no evidence

that he entered the Capitol, no evidence of vandalism attributable to him, and no

damage to property or person attributable to him. Mr. Coffman stands clear of those

who breached police lines at the Capitol, invaded the building, and destroyed property

inside the Capitol. Furthermore, Mr. Coffman is not alleged to have assaulted police

officers.

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Seriousness of Crime & Respect for the Law

      Mr. Coffman submits that his conduct was serious, and it is because of this

that he promptly acted to accept responsibility and agreed to a plea agreement with

the government.     § 3553(a)(2)(A).   As part of his plea agreement, Mr. Coffman

accepted statements of facts for both cases captioned at the beginning of this pleading.

Afford Adequate Deterrence & Protect Public

      Mr. Coffman’s time spent incarcerated should already serve as adequate

deterrence to anyone considering similar conduct. Moreover, his felony conviction

will stay with him for the rest of his life, and he is painfully aware that the conviction

will deprive him of his right to possess firearms. This should be considered by the

Court when considering whether the sentence imposed protects the public.                §

3553(a)(2)(B and C).

Need for Medical Care

      The Court must consider a sentence that would address the numerous health

issues facing Mr. Coffman. While the Bureau of Prisons does operate medical centers,

there can be no dispute that Mr. Coffman’s many medical conditions would be better

served at a medical center operated by the Veteran’s Administration. § 3553(a)(2)(D).

Avoid Sentencing Disparity

      By its plain language, § 3553(a)(6) mandates that district courts consider

sentences imposed upon similarly situated defendants. At its very core, the goal of §

3553(a)(6) is to ensure that every criminal defendant is treated fairly and justly. By

requiring district courts to consider sentences imposed upon similarly situated

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defendants, § 3553(a)(6) ensures that the power to determine appropriate sentences

for criminal defendants is not left to a prosecutor, or recommended sentence

guidelines, but rather remains squarely within the province of district court judges.

       The following cases, from this District, are submitted for the Court’s

consideration:

   •   United States v. Meredith, 21-cr-00159 (ABJ) - Convicted of 18 U.S.C. § 875(c)
       (Communicating     a    Threat)    –   Sentenced    to    28-months      (Government
       recommended midrange of guidelines at 37-46 months). The following facts
       are taken from the government sentence memorandum (ECF 54, pp.1-2): The
       defendant drove from Colorado to Washington, D.C. and arrived on January 6,
       2022. While in route and upon arriving to Washington, D.C., the defendant
       texted violent threats, and threatened to shoot Speaker of the House Nancy
       Pelosi. The defendant was arrested before he could carry out his threats.
       When arrested, he possessed an assault-style rifle with a telescopic sight, a 9
       mm semi-automatic firearm, over 2,500 rounds of ammunition, and multiple
       high-capacity magazines. (referencing “Statement of Offense” at ECF 47).
       While he pleaded guilty only to Communicating a Threat, in addition he was
       also originally charged with D.C. Code § 7-2502.01(a) (Possession of
       Unregistered   Firearm);    D.C.       Code   §   7-2506.01(a)(3)    (Possession   of
       Unregistered Ammunition); and D.C. Code § 7- 2506.01(b) (Possession of Large
       Capacity   Ammunition      Feeding      Devices).   See   ECF,      28   (Superseding
       Indictment).
   •   United States v. Troy Smocks, 21-cr-00198 (TSC) - Convicted of 18 U.S.C. §
       875(c) (Communicating a Threat) – Sentenced to 14-months (Government
       recommended midrange of guidelines either 8-months or 10-months depending
       on criminal history).    The following facts are taken from the government
       sentencing memorandum (ECF 59 pp.1-2).                The defendant traveled to

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       Washington D.C. on January 5, 2021, and, on the morning of January 6, posted
       a message on social media “containing a threat to injure law enforcement
       officers” that reached “tens of thousands of users” from an account that falsely
       purported to identify the defendant as a retired military officer. The message
       threatened that “millions” would “return on January 19, 2021, carrying our
       weapons.” After January 6, the defendant sent “another threatening message
       on the social media service” that was “again viewed by tens of thousands of
       other users,” threatening to “hunt down” and murder “RINOS, Dems, and Tech
       Execs” “over the next 24 hours.” Id. at 3.      According to the government,
       “defendant has a lengthy criminal history, with approximately 18 prior
       criminal convictions spanning from the early 1980s to 2006.” Id. at 6.
   •   United States v. Dawn Bancroft, 21-cr-00271 (EGS) – The defendant pleaded
       guilty to unlawfully Parading, Demonstrating, or Picketing in a Capitol
       Building, 40 U.S.C. § 5104(e)(2)(G), a misdemeanor that carries a maximum
       sentence of six months in prison. She is currently out on bond and pending
       sentencing. The defendant entered the U.S. Capitol on January 6, 2021, upon
       exiting, filmed a video in which she stated, “We broke into the Capitol...we got
       inside, we did our part’ and ‘We were looking for Nancy to shoot her in the
       friggin’ brain but we didn’t find her.’

The three cases, out of the many cases arising from events surrounding January 6,

2021, contrast with Mr. Coffman’s conduct on that day. Mr. Coffman did not threaten

anyone. Rather, Mr. Coffman sought to speak with officials about his concerns. Mr.

Coffman did not identify or threaten a specific individual, nor group, upon which to

commit a violent act. Rather, Mr. Coffman possessed the illegal items, and freely

admitted to law enforcement when asked that the material was indeed his.




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      Of the cases noted above, the Meredith case stands out most for comparison.

The Meredith defendant also possessed firearms, as did Mr. Coffman. However, the

Meredith defendant not only possessed firearms but announced an intent to execute

the Speaker of the House with the firearms. In stark contrast, Mr. Coffman never

expressed to anyone an intent to use his firearms against anyone. Mr. Coffman

submits there is a disparity between the illegal acts and intent in his case and that

of the Meredith case. We suggest that Mr. Coffman’s sentence should not exceed that

of the defendant in Meredith.

      While analysis of conduct, charges, and sentencing are the norm when

evaluating sentence disparity under § 3553(a)(6), courts are not restrained as to the

source or kind of information they may consider in sentencing a defendant so long as

that information bears upon determining the proper sentence. United States v.

Carmona, 873 F.2d 569, 574 (2d Cir. 1989); see also 18 U.S.C. § 3661; U.S.S.G. §

1B1.4. Judges may account for “sentence disparities when devising a punishment for

a particular offender.” Id. See also Kimbrough v. United States, 552 U.S. 85, 108

(2007) (“Section 3553(a)(6) directs district courts to consider the need to avoid

unwarranted disparities—along with other § 3553(a) factors—when imposing

sentences).

      One such disparity is the transitional nature of some detention facilities;

specifically, facilities that housed Mr. Coffman in Washington, D.C. The nature of

this disparity was identified by the Honorable Reggie B. Walton who noted the harsh



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nature of transitional facilities in Washington, D.C., and the region, and reduced a

defendant’s sentence by 36-months. At a sentencing hearing, Judge Walton stated:

      And I do appreciate that the quality of life for someone who is serving a
      sentence in a local jail is a lot harsher and a lot more difficult than the
      time that one spends if they are actually serving a sentence at a federal
      institution. And I think that it is entitled to some consideration because
      of the hardship that individuals endure when they are detained in a local
      detention facility.

      But as I say you have spent a significant amount of time in a local facility,
      and in my view that's entitled to some consideration and therefore, I will
      reduce further the amount of time that you have to serve by 36 months
      which reduces your sentence to 198 months which I think is an
      appropriate sentence in this case.

United States v. Tovar Pupo, 04-cr-114 (RBW), Nov. 6, 2015, Sentencing Hearing,

p.92:2-9 and p.93:10-15 (ECF 536). The nature of a jail facility and rehabilitation of

a defendant is a relevant factor in assessing the danger a defendant poses to the

community and "highly relevant to several of the § 3553(a) factors." See Pepper v.

United States, 562 U.S. 476, 491 (2011).

      Since January 6, 2021, Mr. Coffman was detained at three facilities that are

considered “transitional:” the D.C. Department of Corrections Central Detention

Facility (“D.C. Jail”) and Central Treatment Facility (“CTF”), and USP Lewisburg.

The Court is well aware of the difficulties at both D.C. Department of Correction

facilities during the 2021 calendar year. These difficulties reached such a level that

scores of D.C. federal detainees, including Mr. Coffman, were suddenly transported

by the U.S. Marshal Service to the BOP facility in Lewisburg, Pennsylvania, USP




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Lewisburg.    Mr. Coffman submits his time at these facilities, during a time of

upheaval, warrants sentence mitigation.


                              Medical – Mental Health

       Undersigned counsel relies upon the medical records made available to the

Court in a motion to reconsider bond (ECF 12) and information provided to the Court

by U.S. Probation. Together, it is submitted that Mr. Coffman’s medical issues

require extensive attention and that such attention and care would be better served

at a Veteran’s Administration medical center rather than a Bureau of Prisons’

facility.


                                    Conclusion

       Given Mr. Coffman’s extraordinary and compelling circumstances as they

relate to his health, advanced age, and acceptance of responsibility, we respectfully

submit that no further time incarcerated is warranted to achieve a fair and just

sentence.    Rather, we submit that Mr. Coffman’s sentence warrants sentence

mitigation and consideration of a “time-served” sentence of incarceration, and

components of health care and mental health treatment.


                         Waive Imposition of Monetary Fine

       Given the poor economic status of Mr. Coffman, he respectfully asks that the

Court waive imposition of a fine. PSR, p.18 ¶98.




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                           BOP Facility Recommendation

      Mr. Coffman finally requests that should the Court impose a term of

incarceration more than what he has already served since January 6, 2021, that the

Court recommend to the Bureau of Prisons an appropriate facility in an appropriate

region of our country. More specifically, we ask the Court to include in its Judgment

& Commitment Order a specific recommendation for a facility in the Southeast

Region of the nation; preferably, a facility with medical treatment capabilities.

      One such facilities is the Federal Correctional Complex in Butner, North

Carolina. The Butner Complex offers a federal medical center and multiple detention

facilities including a low-security facility, FCI Butner Low.


      Filed this 2nd day of March 2022.

                                        Respectfully submitted,

                                        RETURETA & WASSEM, P.L.L.C.




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                            CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing filing was served upon counsel for

all parties via electronic mail on this 2nd day of March 2022.




                                    By: ___________________________
                                        Manuel J. Retureta, Esq.




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